Case 1:99-cV-01286-.]DB-tmp Document 83 Filed 04/22/05 Page 1 of 3 Page|D 65

UNITED sTATEs I)ISTRICT COURT ` * (YY`/
WES'I`ERN DISTRICT OF TENNESSEE fur ppg 2? FH 'r‘ 25
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TERRY OTTOWAY’ ) na =J.s, merit cT.
) w.\;). oz‘-' TN. MEMPHis
Plaiutiff )
)
"' )
) No. 99-1286 Bre-P
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants )

 

ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to tile a Motion to Compel is extended up to and including June 10, 2005.

DATED: “i|{°l§~{ °I"

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IT IS SO ORDER_ED.

 

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APPROVED FOR ENTRY:

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JAMES I. PENTECOST

BRANDON 0. GIBSON

PEN'I`ECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, Tennessee 38305

ROBERT J. WALKER

MARK TIPPS

JOSEPH WELBORN

WALKER, BRYANT, TIPPS & MALONE
2300 One Nashville Place

 
     

A E A. RI'I`CHIE,
ROBERT W. RITCHIE
RITCHIE, FELS & DILLARD
P.O. Box 1126

Knoxville, Tennessee 37901-1126

W. GASTON FAIREY

W. GASTON FAIREY, LLC
1722 Main Street, Suite 300
Columbia, South Carolina 29201

150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424
COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

1 certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By:

mata Mt/W,

James I. Pentecost (#011640) t
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 1:99-CV-01286 was distributed by faX, mail, or direct printing on
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K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Brandorl O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Krloxville7 TN 37901

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Krloxville7 TN 37901--112

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Honorable J. Breen
US DISTRICT COURT

